Case 1:21-cr-00089-JMS Document 12 Filed 12/06/21 Page 1 of 3   PageID #: 56




JUDITH A. PHILIPS
Acting United States Attorney
District of Hawaii

MOHAMMAD KHATIB
Assistant U.S. Attorney
Room 6100, PJKK Federal Building
300 Ala Moana Boulevard
Honolulu, Hawaii 96850
Telephone: (808) 440-9231
Facsimile: (808) 541-2958
E-mail: Mohammad.Khatib@usdoj.gov
Attorneys for Plaintiff
United States of America

                   IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,         )     CR. NO. 21-00089 JMS
                                  )
                  Plaintiff,      )     UNITED STATES’S SENTENCING
                                  )     STATEMENT; CERTIFICATE OF
      vs.                         )     OF SERVICE
                                  )
ASIA JANAY LAVARELLO,             )     Date: January 6, 2022
                                  )     Time: 10:00 a.m.
                  Defendant.      )     Judge: Hon. J. Michael Seabright
                                  )


              UNITED STATES’S SENTENCING STATEMENT
Case 1:21-cr-00089-JMS Document 12 Filed 12/06/21 Page 2 of 3         PageID #: 57




      The United States has no objections to the draft Presentence Investigation
Report in the above-captioned case.

      DATED: December 6, 2021, at Honolulu, Hawaii.

                                            JUDITH A. PHILIPS
                                            Acting U.S. Attorney
                                            District of Hawaii


                                            By /s/ Mohammad Khatib
                                              MOHAMMAD KHATIB
                                              Assistant U.S. Attorney




                                        2
Case 1:21-cr-00089-JMS Document 12 Filed 12/06/21 Page 3 of 3          PageID #: 58




                             CERTIFICATE OF SERVICE
      I hereby certify that, on the date noted below, a true and correct copy of the
foregoing was served electronically on counsel of record through the Court’s
CM/ECF system. A copy has also been provided to the U.S. Probation Office.


            DATED: December 6, 2021, at Honolulu, Hawaii.



                                             /s/ Mohammad Khatib
                                             U.S. Attorney’s Office
                                             District of Hawaii
